 

US DIST.RICT COURT '
Case 4:17--cr -00198- A Document 243 Filed 04/06/18 P QU MEERPS?Q§IDI€B®I`TEXAS

 

 

 

 

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v. § Case Nurnber: 4:17~CR»198~A(04)

TYLER JAl\/EES LEVERETT, a/i</a “"l`y"i`y” §

JUI)GMENT IN A CRIMINAL CASE

The government Was represented by Assistant United States Attorney Shawn Srnith. The
defendant, TYLER JAMES LEVERETT, a/i</a “Ty~"i`y”, Was represented by Jaines Joseph
l\/longaras, jr.

The defendant pleaded guilty on October 26, 2017 to the one count superseding
information filed on Octo‘oer ll, 2017. Accordingly, the court ORDBRS that the defendant be,
and is herehy, adjudged guilty of such count involving the following offense:

Titie & Section /Nature of Offense I)ate OIfense Conc¥udcd Count
21 U.S.C. § 846(21 U.S.C. §§ 841(21)(1) and (b)(l)(B)) 12/2€)`16 l
Possession with lntent to Distribute a Controfled Substance

On motion of the United States, the court ORDERS as to this defendant that the indictment
filed Septernber 20, 2017, be, and is hereby, dismissed

As pronounced and imposed on April 6, 2018, the defendant is sentenced as provided in
this judgment

The conn ORDERS that the defendant immediately pay to the United States, through the
Cieri< of this Court, a speciai assessment of $lO0.0().

The court further ORDERS that the defendant shali notify the United States Attorney for
this district Within 30 days of any change of name, residence address, or maiiing address, as set
forth below, until ali tines, restitution costs, and special assessments imposed by this Judgnient
are fully paid.. lf ordered to pay restitution the defendant shali notify the court, through the clerk
of this court1 and the Attorney General, through the United States Attorney for this district, of
any materiai change in the defendant’s economic circumstances

IMPRISONMENT

The court further ORDERS'that the defendant be, and is hereby, committed to the
custody of the United States Bureau of Prisons to be imprisoned for a term of 135 months The
sentence of 135 months shall run concurrently With any sentences in Cas`e Nos. 1491779 and
1502837 in Tarrant County, Texas, Criininal Court No. 3, Additionaily, this sentence shall run
consecutively to any sentences imposed in the defendants pending parole revocation, under Case
Nos. 1307531D and 1307529D, in Crirninal District Court No. 3 of Tarrant County, Texas

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The court recommends to the Bureau of Prisons that defendant be allowed to participate
in the lnstitution Residential Drug Abuse Treatment Program. The Bureau ofPrisons to notify
the court if the defendant cannot participate in the institution Residential Drug Abuse 'l`reatment
Program, and is to give the court an explanation of why the defendant cannot participate

"fhe defendant is remanded to the custody of the United States l\/iarshai.

SUPERVISED RELEASE

The court further ORDBRS that, upon release frorn imprisonment, the defendant shall be
on supervised release for a term of five (5) years and that white on supervised release, the
defendant shall comply with the following conditions‘.

l. "l`he defendant shall not commit another federai, state, or iocai crime
2. The defendant shall not unlawfully possess a controiled substance

3. The defendant shall cooperate in the collection of DNA as directed by the U.S. Probation
Officer, as authorized by the Justice for All Act of 2004.

4. The defendant shall refrain from any unlawful use of a controlled substance, submitting
to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as directed by the probation officer pursuant to the mandatory drug
testing provision of the 1994 crime biil.

5. The defendant shall participate in mental health treatment services as directed by the
probation officer until successfully discharged, which services may include prescribed
medications by a licensed physician, with the defendant contributing to the costs of
services rendered at a rate of at least 325 per month

6. The defendant shall participate in a program approved by the probation officer for
treatment of narcotic or drug or alcohol dependency that will include testing for the
detection of substance use, abstaining from the use of alcohol and all other intoxicants
during and after completion of treatment, contributing to the costs of services rendered at
the rate of at least 325 per month

7. 'l`he defendant shall also comply with the Standard Conditions of Supervision as
hereinafter set forth.
Standard Conditions of Sunervision
l. The defendant shall report in person to the probation office in the district to which the
defendant is released within seventy~two (72) hours of release from the custody of the

Bureau of Prisons.

2. 'l`he defendant shall not possess a firearm, destructive device, or other dangerous weapon

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The defendant shall provide to the U.S. Probation Officer any requested financial
information

The defendant shall not leave the judicial district where the defendant is being supervised
without the permission of the Court or U.S. Probation Officer.

The defendant shall report to the U.S. Probation Officer as directed by the court or U.S.
Probation Offrcer and shall submit a truthful and complete written report within the first
five (5) days of each month.

The defendant shall answer truthfully all inquiries by the U.S, Probation Ofticer and
follow the instructions of the U.S. Probation Officer.

"l`he defendant shall support his dependents and meet other family responsibilities

The defendant shall work regularly at a lawful occupation unless excused by the U.S.
Probation Ofiicer for schooling, training, or other acceptable reasons

The defendant shall notify the probation officer at least ten (lO) days prior to any change
in residence or employment

'l"he defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
use, distribute, or administer any narcotic or other controlled substance, or any
paraphernalia related to such substances, except as prescribed by a physician

The defendant shall not frequent places where controlled substances are illegally sold,
used, distributed, or administered

The defendant shall not associate with any persons engaged in criminal activity, and shall
not associate with any person convicted of a felony unless granted permission to do so by
the U.S. Probation Ofiicer.

The defendant shall permit a probation officer to visit him at any time at home or
elsewhere and shall permit confiscation of any contraband observed in plain view by the
U.S. Probation Officer.

The defendant shall notify the probation officer within seventy-two (72) hours of being
arrested or questioned by a law enforcement officer.

The defendant shall not enter into any agreement to act as an informer or a special agent
of a law enforcement agency without the permission of the court.

As directed by the probation officer, the defendant shall notify third parties of risks that
may be occasioned by the defendant's criminal record or personal history or
characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendants compliance with such notification requirement

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The court hereby directs the probation officer to provide defendant With a Written

statement that sets forth all the conditions to which the term of supervised release is subject, as
contemplated and required by ill U.S.C. § 3583(f).

FINE

 

'i`he court did not order a fine because the defendant does not have the financial resource
or future earning capacity to pay a fine

STATEMENT OF REASONS

'I`lie “Statement of Reasons” and personal information about the defendant are Set forth
on the attachment to this judgmentl

Signed this the 6th day of April, 20l8.

 

 

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RETURN

l have executed the imprisonment part of this Judgrnerit as follows:

 

 

 

Defendant delivered on , 2018 to
at , with a certified copy of this .ludgrnent.

 

 

United States Marshal for the
Northern District of Texas

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Deputy United States l\/larshal

